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CaSe 11-29544 (F@ 09/19/11 DOC 97

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UNITED STATES BANKRUPTCY COURT

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SEP 19 2

    

EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION

case No. 11-29544- - TER~ TES

Docket Control No. ABR-3

Ir1 re BANKRUP
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)
ANDREW BYRON RATHBONE, )
)
Debtor(s). )

)

 

This memorandum decision is not approved for publication and may
not be cited except when relevant under the doctrine of law of the
case or the rules of claim preclusion or issue preclusion.

MEMORANDUM OPINION AND DECISION

Andrew Rathbone, the Chapter 13 Debtor in the above captioned
case has presented the court with an EX Parte Verified Emergency
Petition for an order vacating the September 7, 2011 order of this
court dismissing the Chapter 13 bankruptcy case. The EX Parte
Verified Emergency Petition was presented to the court at 4:15 p.m.
on September 19, 2011.

The Ex Parte Verified Emergency Petition asserts the following
as grounds for vacating the dismissal of the Chapter 13 case:

1. The court entered its order dismissing the Chapter 7 case
on September 8, 2011.

2. The order was entered pursuant to a motion filed by the

Chapter 13 Trustee through his attorney Neil Enmark.

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`CaSe 11-29544 Filed 09/19/11 DOC 97

3. Neil Enmark admitted that he is not authorized to
practice in the Eastern District of California, citing the court to
a September 13, 2011, declaration filed by Neil Enmark.l

4. The court relied upon the Motion filed by Neil Enmark
when he had not been admitted to appear in this district in
dismissing the Debtor’s Chapter 13 bankruptcy case.

5. The Debtor has suffered a damage to his inherent right to
procedural due process under the Federal Rules of Civil Procedure,
Local Rules of the District Court, and Local Rules of the
Bankruptcy Court.

6. The order dismissing the case must be vacated in the
interests of good faith, fair dealing, and the inherent principle
of reason being the soul of the law.

7. The emergency petition is timely as the order dismissing

,the case was entered on September 8, 2011, and Neil Enmark

confirmed his failure to be admitted in the Eastern District of
California on September 13, 2011,

8. If the September 7, 2011 order is not vacated, the Debtor
stands in imminent damage of being displaced from his homestead
without just cause. The Sheriff has posted a Notice to Vacate with

a demand that the Debtor vacate the premises or be forcefully

 

removed.
9. Other issues of law on scheduled to be heard concerning
1 The September 13, 2011 declaration, Dckt. -, states that

Mr. Enmark believed that he was admitted to appear in the Eastern
District of California in 1992, but cannot prove that he was so
admitted. He cannot obtain copies of checks or bank records from
1992, Within 24 hours of learning that a question existed as to
whether he was admitted to appear in the Eastern District, he
filed an application on September 9, 2011 and was admitted to
appear in this district.

 

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CaSe 11-29544 Filed 09/19/11 DOC 97

alleged fraudulent conduct of the Law Office of Les Zieve (attorney
for the party seeking to have the Debtor evicted) been damaged
prejudiced because with his bankruptcy case dismissed.

10. Given the current real estate market and that foreclosed
homes stand empty and unattended, it is greater prejudice to the
Debtor than the party seeking to evict him (Federal National Home
Mortgage).

11. The Debtor believes that he has a substantial likelihood
of success on the merits of a motion to strike set for hearing on
September 20, 2011, and a motion on the merits based on Neil Enmark
not being qualified to represent the Chapter 13 Trustee.

12. Therefore, the Debtor seeks to have the order dismissing
the Chapter 13 case vacated so that the automatic stay can go back
into effect and prevent the Sheriff from evicting him.
Consideration of Ex Parte Verified Emergency Petition

While phrased as an Ex Parte Verified Emergency Petition, the
pleading is a motion to vacate pursuant to Fed. R. Civ. P. Rule
60(a) and Fed. R. Bankr. P. 9024. Though not referenced anywhere
in the instant pleading, the court is aware that the Debtor has
knowledge of this provision and the correct law upon which the
requested relief is to be based. On August 19, 2011, the Debtor
filed a Motion For Relief From Order in which he express addresses
the provisions of Fed. R. Civ. P. 60(b) and Fed. R. Bank. P. 9024
in seeking to vacate an order granting relief from the automatic
stay. Dckt. 55. No discussion of those provisions is provided in
support of the present Motion or any basis for granting such relief
under those Rules stated. Rather, general reference is made to due

process and interests of good faith, fair dealing, and the inherent

 

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CaSe 11-29544 Filed 09/19/11 DOC 97

principle of reason being the soul of the law.

The current EX Parte Verified Emergency Petition does not
contain any explanation or reason why, if the order dismissing the
case was entered on September 8, 2011, why the Debtor is
approaching the court after 4:00 p.m. on September 19, 2011, the
eve of the pending eviction. The 11 days in between have expired
without comment. Though the Debtor states that it is not until
September 13, 2011 that Neil Enmark confirmed that he had not been
admitted to appear in the Eastern District of California, the
Debtor knew and asserted that Mr. Enmark was not admitted prior to
September 6, 2011, This is clear in the record as the Debtor filed
a motion to strike the Trustee’s motion to dismiss on September 6,
2011, alleging that Neil Enmark was not admitted to appear in the
Eastern District of California. Clearly, the Debtor has known of
the grounds he now asserts for at least two weeks, and only seeks
the assistance of the court at the very last minute.

The Debtor also states that he believes that he has a
likelihood of success on the merits of striking the motion to
dismiss. However, the first obstacle facing the Debtor is that no
motions to strike are permitted with respect to other motions.
Fed. R. Bank. P. 9014 which governs the bankruptcy court law and
motion practice does not incorporate Fed. R. Bank. P. 7012 and Fed.
R, Civ. P. 12 into law and motion proceedings. Fed. R. Civ. P. 12
is the rule providing for motions to strike.

Second, the Debtor’s general reference to the lack due process
is not well founded; The Debtor was afforded notice of the motion
to dismiss (Dckt. 41, certificate of service, July 14, 2011), the

filing of an opposition to the motion to dismiss (Dckts. 63, 64,

 

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CaSe 11-29544 Filed 09/19/11 DOC 97

and 66, opposition, declaration, and exhibits, respectively), and
a hearing on August 31, 2011. The Debtor was provided with every
procedure and proceeding provided under the substantive and
procedural laws to have the matter properly presented to the court.
Even assuming that Neil Enmark, serving as counsel for the Trustee,
was not admitted to practice before the Eastern, District of
California during the period that the motion was filed and the
hearing, such does not impair the Debtor’s due process rights.
The court issued its ruling on the motion to dismiss on August
31, 2011. Dckt. 67. The motion sought dismissal due to the
Debtor’s failure to file tax returns as required by 11 U.S.C.
§ 521(e)(2)(A). 2 As the statute provides, if the Debtor has not

provided copies of Federal income tax returns for the year most

 

2 (e) (1) If the debtor in a case under chapter 7 or 13 is
an individual and if a creditor files with the court at any time
a request to receive a copy of the petition, schedules, and
statement of financial affairs filed by the debtor, then the
court shall make such petition, such schedules, and such
statement available to such creditor.

(2) (A) The debtor shall provide-
(i) not later than 7 days before the date first set for

the first meeting of creditors, to the trustee a copy of the
Federal income tax return required under applicable law (or at

the election of the debtor, a transcript of such return) for the

most recent tax year ending immediately before the commencement
of the case and for which a Federal income tax return was filed;
and

(ii) at the same time the debtor complies with clause
(i), a copy of such return (or if elected under clause (i), such
transcript) to any creditor that timely requests such copy.

(B) If the debtor fails to comply with clause (i) or <ii)
of subparagraph (A), the court shall dismiss the case unless the
debtor demonstrates that the failure to so comply is due to
circumstances beyond the control of the debtor.

 

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CaSe 11-29544 Filed 09/19/11 DOC 97

immediately due, the court shall dismiss the case unless the debtor

demonstrates that the failure to do so is due to circumstances

ybeyond the control of the debtor. In enacting this provision of

the Bankruptcy Code, Congress mandated dismissal unless the debtor
could establish the failure to file the return was due to
circumstances beyond the Debtor’s control.

As set forth in the court’s findings of fact and conclusions
of law in support of the motion to dismiss, Dckt. 67, the Debtor in
this case offered the following as the basis for showing that the
failure to file the return was due to circumstances beyond his
control:

1. The Chapter 13 Trustee had failed to comply with 5 U.S.C.
§ 556(d), a portion of the Administrative Procedures Act governing
administrative proceedings before certain administrative bodies.
The court determined that proceeding before the bankruptcy court
are not governed by the Administrative Procedures Act. 5 U.S.C.
§§ 553-554, 28 U.S.C. §§ 1334, 151, and 157(b).

2. Second, the Debtor argued that it was the burden of the
Trustee to first establish that the Debtor where the law imposes an
obligation on him to file a tax return. This seeks to invert the
law as written by Congress. The Debtor never asserted that no tax
return was due, only that the Trustee must first prove that a tax
return was due,

3. Third, the Debtor argued that the Bankruptcy Code was
unenforceable because Congress had not authorized regulations to
implement the Code. This is clearly wrong, as Congress has the
power pursuant to Article 1 of the United States Constitution to

create statutes. If it chooses to delegate power to administrative

 

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CaSe 11-29544 Filed 09/19/11 DOC 97

agencies to supplement the statutes it may elect to so do, but
there is no requirement that any regulations be authorized. Yakus
v. United States, 321 U.S. 414, 424-427 (1944). Further, to accept
the Debtor’s argument that the Bankruptcy Code is in effective
because there are no regulations would also render the purported
Chapter 13 case a nullity and the sought after automatic stay
nonexistent. The court rejects this argument, the Bankruptcy Code,
obligation of the Debtor to provide copies of the tax returns, and
mandatory dismissal if the returns are not provided are fully
effective.

The court properly dismissed the case and there is little
likelihood of the Debtor prevailing on a motion to strike (if such
a motion were proper).

The Chapter 13 bankruptcy case was filed on April 18, 2011,
and dismissed on September 7, 2011. The document filed by the
Debtor titled “Plan,” Dckt. 7, states that he has $16.00 a month in
projected monthly disposable income. This is inconsistent with
Schedule J which discloses monthly net income of $166. There are
no Class One, Class Two, or Class Four secured claims to be paid.
The Debtor states that he will pay 0.00% to creditors holding
general unsecured claims. The court sustained an objection to
confirmation of this plan. Dckt. 29. The court’s findings of
fact and conclusions of law sustaining the objection to
confirmation are in the Civil Minutes of the hearing. Dckt. 28.
Conclusion

In the limited time afforded the court by the filing of this
Ex Parte Verified Emergency Petition by the Debtor, the court has

endeavored to seriously consider and.rule on this request. Rather

 

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CaSe 11-29544 Filed 09/19/11 DOC 97

than merely ignoring this request, the court dropped the other
matters pending for the court’s September 20, 2011 calendar and
invested more than one hour of time considering this emergency
request. Upon such consideration, the court determines that the
requested relief is not warranted. The court is firmly convinced
that this is the correct decision, which would not change if more
time was afforded the court. Merely because a party waits until
the eleventh hour, fifty ninth minute, and fifty ninth second
before an adverse event does not result in an automatic granting of
the requested relief.

Further, from this motion, the arguments, evidence and
pleadings on the motion to dismiss, and the files in this case, it
is clear that the bankruptcy case is being used by the Debtor after
failing in his attempts in state court. The Debtor has and retains
all of his rights to be enforced in the state court proceeding.
Nothing has been presented to the court to indicate that the Debtor
has any intent or ability to proceed with a reorganization. There
are no proper grounds for this court to grant the dismissal.

The court shall issue a separate order denying the EX Parte
Verified Emergency Petition. This Memorandum Opinion and Decision
constitutes the court’s findings of fact and conclusions of law

pursuant to Fed. R. Civ. P. 52 and Fed. R. Bankr. P. 9014 and 7052.

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Dated: September /€, 2011

 

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CaSe 11-29544 Filed 09/19/11 DOC 97

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that the attached document(s) was served by mail
to the following entities listed at the address(es) shown below:

Service List:

Les Zieve
18377 Beach Blvd #210
Huntington Beach, CA 92648

Andrew Rathbone
765 Almond Tree Ct
Dixon, CA 95620

David Cusick
PO Box 1858
Sacramento, CA 95812-1858

Office of the U.S. Trustee

Robert T Matsui United States Courthouse
501 1 Street, Room 7-500

Sacramento, CA 95814

DATE; §%¢%/ ,, ______
//VDeputy Clerk

 

R.Lopez

 

